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14
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15

16                                UNITED STATES DISTRICT COURT
17                               EASTERN DISTRICT OF CALIFORNIA
18
                                                     * * *
19
   TERRY T. SNIPES, SR., an individual,                     Case No. 2:15-cv-00878-MCE-DAD
20 residing in San Joaquin County, California,
                                                            Judge: Hon. Morrison C. England, Jr.
21                  Plaintiff,
22                                                          CLASS ACTION
            vs.
23                                                          JOINT STIPULATION RE: TOLLING
   DOLLAR TREE DISTRIBUTION, INC., A
24 Virginia Corporation; and Does 1 through                 OF DEADLINE TO SUBMIT
                                                            INDIVIDUAL DEMAND FOR
   50, inclusive,
25                                                          ARBITRATION; ORDER THEREON

26 Defendants.                                              Action Filed: April 1, 2015
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        __________________________________________________________________________________________________
             JOINT STIPULATION RE: TOLLING OF DEADLINE TO SUBMIT INIDIVIDUAL DEMAND FOR ARBITRATION
     Case 2:15-cv-00878-MCE-DB Document 115 Filed 01/27/20 Page 2 of 5


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             JOINT STIPULATION RE: TOLLING OF DEADLINE TO SUBMIT INIDIVIDUAL DEMAND FOR ARBITRATION
     Case 2:15-cv-00878-MCE-DB Document 115 Filed 01/27/20 Page 3 of 5


 1                                              STIPULATION
 2          Plaintiff TERRY T. SNIPES, SR. (“Plaintiff”) and Defendant DOLLAR TREE
 3 DISTRIBUTION, INC. (“Defendant”), by and through their respective counsel of record,

 4 hereby stipulate and agree as follows:

 5          1.      On or about November 7, 2019, the Court entered a Memorandum and
 6 Order by which it, among other things, granted Defendant’s Motion to Compel

 7 Arbitration and Amend Operative Class Definition with respect to the Class Members

 8 identified in Appendix A and Appendix B of Defendant’s Notice of Motion (hereinafter

 9 “the Arbitration Associates”) (Dkt. 101; the “November 7, 2019 Order”).
10          2.      The November 7, 2019 Order compelled the Arbitration Associates to
11 arbitrate, in the manner provided by his or her Arbitration Agreement with Defendant,

12 the first through eighth claims for relief asserted in the operative complaint, to be

13 initiated within ninety (90) days of the November 7, 2019 Order, should the Arbitration

14 Associate so choose.

15          3.      On or about December 5, 2019, Plaintiff filed a Motion for Reconsideration
16 and Notice of Appeal with respect to the November 7, 2019 Order.

17          4.      On or about December 19, 2019, mediator David Lowe, Esq. issued to
18 Plaintiff and Defendant a mediator’s proposal, the terms of which would result in

19 settlement and release of the claims of all Class Members, as of the November 7, 2019

20 Order, and the Arbitration Associates.

21          5.      On or about December 23, 2019, Plaintiff and Defendant were notified by
22 Mr. Lowe that the mediator’s proposal was accepted by the parties.

23          6.      Plaintiff and Defendant are preparing a long-form settlement agreement
24 and supporting documents to set forth the terms for resolving the claims of the Class

25 Members and the Arbitration Associates and submit for Court approval (the

26 “Settlement”). Defendant agrees that it will provide a draft memorandum of agreement

27 that has been approved by Defendant and all of Defendant’s Counsel to Plaintiff not

28 later than January 31, 2020.
                                                        3
        __________________________________________________________________________________________________
             JOINT STIPULATION RE: TOLLING OF DEADLINE TO SUBMIT INIDIVIDUAL DEMAND FOR ARBITRATION
     Case 2:15-cv-00878-MCE-DB Document 115 Filed 01/27/20 Page 4 of 5


 1           7.      Plaintiff and Defendant stipulate and agree that it is in the best interest of
 2 the Arbitration Associates that the ninety (90) day deadline set forth in the Court’s

 3 November 7, 2019 Order for the bringing of individual demands for arbitration be

 4 TOLLED pending the submission of the Settlement for Court approval, and distribution

 5 of notice of the Settlement to the Class Members subject to the Court’s preliminary

 6 approval of the Settlement.

 7           8.      Plaintiff and Defendant stipulate and agree that the deadline to file an
 8 individual claim to arbitrate shall be tolled through and including the later of the following

 9 dates: (a) sixty (60) days following the Court’s issuance of an Order denying, in its
10 entirety, the Plaintiff’s Motion for Preliminary Approval of Joint Stipulation of Settlement

11 (“Preliminary Approval Motion”); (b) subject to preliminary approval of the Settlement,

12 sixty (60) days following the date upon which any Arbitration Associate compelled to

13 arbitration pursuant to the Court’s November 7, 2019 Order (Dkt. 101) submits a valid,

14 timely request for exclusion from the Settlement in the manner provided by the

15 Settlement; or (c) sixty (60) days following the Court’s issuance of an Order denying, in

16 its entirety, the Plaintiff’s Motion for Final Approval of Joint Stipulation of Settlement.

17           9.      Plaintiff and Defendant agree to work expeditiously to prepare the papers
18 necessary to seek preliminary approval of the Settlement from the Court.

19           10.     Plaintiff and Defendant agree that, (i) should Plaintiff be contacted by a
20 Class Member or Arbitration Associate about the case before the filing of the

21 Preliminary Approval Motion, Plaintiff will respond only that the individual should contact

22 Plaintiff’s counsel; and (ii) should Plaintiff’s counsel be contacted by any Class Member

23 or Arbitration Associate about the case before the filing of the Preliminary Approval

24 Motion, Plaintiff’s counsel will respond that a settlement has been reached, the

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              JOINT STIPULATION RE: TOLLING OF DEADLINE TO SUBMIT INIDIVIDUAL DEMAND FOR ARBITRATION
     Case 2:15-cv-00878-MCE-DB Document 115 Filed 01/27/20 Page 5 of 5


 1 individual need not do anything to protect his/her rights as to the lawsuit, at this time,

 2 and the details of the settlement and the Class Member’s or Arbitration Associate’s

 3 rights will be communicated in a forthcoming Court-approved notice.

 4

 5 DATED: January 27, 2020

 6                                                          ____________
                                                         JARED HAGUE
 7                                                       SUTTON HAGUE LAW CORPORATION
                                                         Attorneys for Plaintiff
 8
                                                         TERRY T. SNIPES, SR.
 9
     DATED: January 27, 2020
10                                                          ____________
                                                         ELENA BACA
11                                                       RYAN DERRY
12                                                       JENNIFER MILAZZO
                                                         PAUL HASTINGS
13                                                       Attorneys for Defendant
                                                         DOLLAR TREE DISTRIBUTION, INC.
14

15                                                  ORDER
16          In accordance with the Joint Stipulation between Plaintiff and Defendant, the
17 ninety (90) day deadline for the Arbitration Associates to initiate individual demands for

18 arbitration against Defendant, if they so choose, as set forth in the Court’s November 7,

19 2019 Memorandum and Order (ECF No. 101), is hereby TOLLED in the manner set

20 forth in the Joint Stipulation of the parties.

21          IT IS SO ORDERED.
22 DATED: January 27, 2020

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24                                              _______________________________________
25                                              MORRISON C. ENGLAND, JR.
                                                UNITED STATES DISTRICT JUDGE
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             JOINT STIPULATION RE: TOLLING OF DEADLINE TO SUBMIT INIDIVIDUAL DEMAND FOR ARBITRATION
